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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
LENROY RYAN,                        )
                                     )
            Plaintiff,               )
                                     )
                                     )   Civil Action No. 24-CV-11054-AK
v.                                   )
                                     )
PROCESS, INC., PROCESS OHIO          )
CORPORATION, HAMMEL                  )
RECYCLINGTECHNIK GmbH, and           )
STOEVELAAR TRADING, BV,             )
                                     )
            Defendants.              )
                                     )

MEMORANDUM AND ORDER ON DEFENDANT HAMMEL’S MOTION TO DISMISS
             FOR LACK OF PERSONAL JURISDICTION

ANGEL KELLEY, D.J.

       Plaintiff Lenroy Ryan (“Ryan” or “Plaintiff”) injured his leg when he was working on the

Defendant Hammel’s machine. As a result of his injuries, Plaintiff sustained permanent injuries,

including the amputation of his left leg. The machine was distributed by the remaining

Defendants. Plaintiff’s Second Amended Complaint (“Amended Complaint”) includes several

claims, including defective design, failure to warn, strict liability, breach of warranty,

negligence, and negligent training. Pending before the Court is Defendant Hammel’s Motion to

Dismiss Plaintiff’s Amended Complaint under Federal Rule of Civil Procedure 12(b)(2) for lack

of personal jurisdiction and 12(b)(6) for failure to state a claim upon which relief can be granted.

[Dkt. 41]. Defendant Stoevelaar Trading, BV (“Stoevelaar”) has also filed a Motion to Dismiss

for Lack of Personal Jurisdiction which the Court will address separately. For the following




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reasons, Hammel’s Motion to Dismiss Plaintiff’s Amended Complaint [Dkt. 41] is GRANTED

and Plaintiff’s Cross-Motion for Jurisdictional Discovery [Dkt. 43] is DENIED. 1

I.         BACKGROUND

           Plaintiff brought this suit after sustaining injuries from a metal shredder, which resulted

in the amputation of his leg. On October 13, 2022, Ryan was working with the shredder

manufactured by Hammel at his place of employment when the machine allegedly jammed and

caused him to injure himself. The shredder involved in this incident was manufactured and sold

by a German manufacturer, Hammel, to the Dutch distributor, Stoevelaar. Stoevelaar then sold

the machine to Monarch Global Equipment, LLC (“Monarch”) and shipped it to Baltimore,

Maryland, on November 6, 2020. The shredder was then sold to Process, Inc. (“Process”), which

sold it to Plaintiff’s employer in Massachusetts. 2




1
  Although this Court cannot exercise personal jurisdiction over Hammel, and therefore lacks jurisdiction to address
Hammel’s 12(b)(6) arguments, it nevertheless takes this opportunity to restate principles of Massachusetts tort law
relevant to this case. The Massachusetts Supreme Judicial Court has repeatedly “declined to allow claims for strict
liability in tort for defective products . . . [.]” Commonwealth v. Johnson Insulation, 682 N.E.2d 1323, 1326 (Mass.
1997). This basic rule has been consistently followed by Massachusetts state and federal courts. See, e.g., Taupier
v. Davol, Inc., 490 F. Supp. 3d 430, 439 (D. Mass. 2020) (“Massachusetts does not recognize strict products liability
in tort.”) (quoting Smith v. Robertshaw Controls Co., 410 F.3d. 29, 32 n.4 (1st Cir. 2005)); Ahren v. Sig Sauer, Inc.,
No. 21-cv- 11007, 2021 WL 5811795 at *2 (D. Mass. Dec. 7, 2021) (“Massachusetts does not provide a strict
liability cause of action for a defective product.”). This does not mean that those injured by defective products in
the Commonwealth are without redress. Indeed, the Massachusetts legislature “has transformed warranty liability
into a remedy intended to be fully as comprehensive as the strict liability theory of recovery that has been adopted
by a great many other jurisdictions.” Back v. Wickes Corp., 378 N.E.2d 964, 968 (Mass. 1978). Thus, plaintiffs
seeking to invoke a strict liability theory to recover for injuries caused by an allegedly defective product must do so
by way of “a claim for breach of the implied warranties of merchantability and/or fitness for a particular purpose
under Mass. Gen. Laws ch. 106 §§ 2-314 and 2-315 . . . [.]” Philips v. Medtronic, Inc., 754 F. Supp. 2d 211, 216 (D.
Mass. 2010); see Swartz v. Gen. Motors Corp., 378 N.E.2d 61, 62 (Mass. 1978) (“[T]here is no ‘strict liability in
tort’ [in Massachusetts] apart from liability for breach of warranty under the Uniform Commercial Code.”) (citing
Mass. Gen. Laws ch. 106 §§ 2-314, 2-318)). In other words, pure strict products liability exists only within the
statutory breach of warranty framework. See Mass. Gen. Laws ch. 106 §§ 2-314, 2-318. Accordingly, a plaintiff
may not include a standalone “strict liability” claim in their complaint and expect to survive a 12(b)(6) motion.
2
    It is not clear to the Court what role Process Ohio has in this case.


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       The case was removed from the Massachusetts Superior Court in Suffolk County on

April 22, 2024. After two amended complaints, both Hammel and Stoevelaar moved to dismiss

for lack of personal jurisdiction. In its opposition, Ryan filed cross-motions for jurisdictional

discovery against Hammel and Stoevelaar. Plaintiff attached the following exhibits to his

opposition to Hammel’s Motion to Dismiss: third-party data showing that Hammel made 179

shipments to the United States over the past eighteen years; Hammel’s webpages in English

showing its participation in trade shows in Las Vegas and Atlanta; a Hammel webpage indicating

it conducts business in the United States; a Process webpage stating it is “the North American

source for Hammel shredders, new and used”; a Hammel webpage listing Process as its United

States contact under “Hammel international”; a webpage of another company allegedly using a

Hammel shredder in Massachusetts; information for “HAMMEL New York LLC,” a New York

subsidiary and distributor of Hammel products; and an article describing Hammel’s relationship

with Bejac Corporation, a distributor serving the western United States.

       On April 16, 2025, the Court held a hearing on Hammel’s and Stoevelaar’s motions to

dismiss and on Plaintiff’s cross-motions for jurisdictional discovery. Defendants Process, Inc.

and Process Ohio Corporation filed answers to the Second Amended Complaint [Dkts. 45, 46]

but have not moved to dismiss.

II.    LEGAL STANDARD

       When personal jurisdiction is contested, the plaintiff has the “ultimate burden of showing

by a preponderance of the evidence that jurisdiction exists.” Vapotherm, Inc. v. Santiago, 38

F.4th 252, 257 (1st Cir. 2022) (quoting Adams v. Adams, 601 F.3d 1, 4 (1st Cir. 2010)). When

the Court assesses its jurisdiction without an evidentiary hearing, the prima facie standard

applies. Daynard v. Ness, Motley, Loadholt, Richardson & Poole, P.A., 290 F.3d 42, 51 (1st Cir.




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2002). Under the standard, the plaintiff should “proffer evidence which, taken at face value,

suffices to show all facts essential to personal jurisdiction.” Baskin-Robbins Franchising LLC v.

Alpenrose Dairy, Inc., 825 F.3d 28, 34 (1st Cir. 2016).

       The Court reviews the pleadings, supplemental filings in the record, and undisputed facts,

giving credence to the plaintiff’s version of genuinely contested facts. Id. While the plaintiff’s

burden of proof is “light,” it nevertheless requires them not to rely on “mere allegations” alone

but to point to specific facts in the record that support their claims. Jet Wine & Spirits, Inc. v.

Bacardi & Co., 298 F.3d 1, 8 (1st Cir. 2002) (citing Daynard, 290 F.3d at 51). The Court “‘must

accept the plaintiff’s (properly documented) evidentiary proffers as true’ . . . irrespective of

whether the defendant disputes them” for the purposes of the motion. Adelson v. Hananel, 510

F.3d 43, 48 (1st Cir. 2007) (quoting Foster- Miller, Inc. v. Babcock & Wilcox Canada, 46 F.3d

138, 145 (1st Cir. 1995)). The Court is to view these facts in the light most favorable to the

plaintiff’s jurisdictional claim. Massachusetts Sch. of Law at Andover, Inc. v. Am. Bar Ass’n,

142 F.3d 26, 34 (1st Cir. 1998). The defendant may also offer evidence, but the evidentiary

proffers of the defendant “become part of the mix only to the extent that they are

uncontradicted.” Adelson, 510 F.3d at 48 (citing Massachusetts Sch. of Law at Andover, Inc.,

142 F.3d at 34); see Baskin-Robbins, 825 F.3d at 34 (“We may, of course, take into account

undisputed facts put forth by the defendant.”).

III.   DISCUSSION

       A. Personal Jurisdiction

       When determining whether a nonresident defendant is subject to its jurisdiction, “a

federal court exercising diversity jurisdiction is the functional equivalent of a state court sitting

in the forum state.” Baskin-Robbins, 825 F.3d at 34 (quoting Sawtelle v. Farrell, 70 F.3d 1381,




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1387 (1st Cir. 1995)). In that posture, Ryan has the burden of satisfying the rigors of “both the

forum state’s long-arm statute and the Due Process Clause of the Fourteenth Amendment.”

C.W. Downer & Co. v. Bioriginal Food & Sci. Corp., 771 F.3d 59, 65 (1st Cir. 2014) (quoting

Ticketmaster-New York, Inc. v. Alioto, 26 F.3d 201, 204 (1st Cir. 1994)). For reasons explained

below, the Court holds that Plaintiff’s jurisdictional contention is untenable, and Hammel cannot

be subjected to personal jurisdiction in Massachusetts.

                 1. Due Process

       The First Circuit employs the following three-part test to determine whether the exercise

of personal jurisdiction over a defendant comports with due process: (1) the claims must directly

relate to the defendant's forum-state activities; (2) the in-state contacts must represent a

purposeful availment of the privilege of conducting activities in the forum state; and (3) the

exercise of personal jurisdiction must, in light of the Gestalt factors, be reasonable. United Elec.

Workers v. 163 Pleasant St. Corp., 960 F.2d 1080, 1089 (1st Cir.1992). The Court discusses

each prong of the jurisdictional calculus in turn.

                       a. Relatedness

       To show relatedness, the plaintiff must demonstrate that their “cause of action either

arises directly out of, or is related to, the defendant's forum-based contacts.” Knox v.

MetalForming, Inc., 914 F.3d 685, 690-91 (1st Cir. 2019) (citing Harlow v. Children's Hosp.,

432 F.3d 50, 61 (1st Cir. 2005)). This is a “flexible, relaxed standard.” N. Laminate Sales, Inc.

v. Davis, 403 F.3d 14, 25 (1st Cir. 2005) (quoting Pritzker v. Yari, 42 F.3d 53, 61 (1st Cir.

1994)). Relatedness requires only that the claim have a “demonstrable nexus” to the defendant's

forum contacts. Mass. Sch. of Law, 142 F.3d at 34; Knox, 914 F.3d at 691. Plaintiff was injured

in Massachusetts by a shredder manufactured by Hammel. Hammel’s alleged contacts with




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Massachusetts relate directly to the specific machine involved in the incident that gave rise to

this action. The relatedness requirement is easily met.

                        b. Purposeful Availment

         The purposeful availment requirement ensures that the exercise of jurisdiction is

voluntary, foreseeable, and not premised on a defendant's “random, fortuitous, or attenuated

contacts.” Carreras v. PMG Collins, LLC, 660 F.3d 549, 555 (1st Cir. 2011) (quoting Burger

King Corp. v. Rudzewicz, 471 U.S. 462, 475 (1985)). The defendant's conduct and connection

with the forum state must be such that it should reasonably anticipate being haled into court

there. Knox, 914 F.3d at 691 (quoting Burger King, 471 U.S. at 474). This requirement applies

equally to foreign defendants. Plixer Int'l, Inc. v. Scrutinizer GmbH, 905 F.3d 1, 7 (1st Cir.

2018).

         In J. McIntyre Mach., Ltd. v. Nicastro, a divided Supreme Court addressed the issue of

exercising personal jurisdiction over a British manufacturer whose product was distributed by an

Ohio company and caused injury to the plaintiff in New Jersey. 564 U.S. 873 (2011). The

plurality held that such a defendant must reveal an intent to invoke or benefit from the protection

of the forum state’s laws. Concurring only in judgment, Justice Breyer and Justice Alito found

no personal jurisdiction under the “stream of commerce plus” analysis. Id. at 887-89. Under this

theory, mere awareness that the stream of commerce may carry a product into the forum state is

not enough; there must be “something more” targeting the specific forum. Asahi Metal Industry

Co., Ltd. v. Superior Court of California, Solano County, 480 U.S. 102, 112 (1987)

(“[S]omething more” may include, “for example, designing the product for the market in the

forum State, advertising in the forum State, establishing channels for providing regular advice to




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customers in the forum State, or marketing the product through a distributor who has agreed to

serve as the sales agent in the forum State.”).

       Like other circuits, the First Circuit has held that the narrowest, and therefore binding,

opinion from McIntyre was Justice Breyer's concurrence. Knox, 914 F.3d at 691; Plixer, 905

F.3d at 10 (quoting Marks v. United States, 430 U.S. 188 (1977)); accord Williams v. Romarm,

SA, 756 F.3d 777, 784 (D.C. Cir. 2014) (finding Justice Breyer's concurring opinion controlling

under Marks); Ainsworth v. Moffett Eng'g, Ltd., 716 F.3d 174, 178 & n.14 (5th Cir. 2013);

AFTG-TG, LLC v. Nuvoton Tech. Corp., 689 F.3d 1358, 1363 (Fed. Cir. 2012).

       Sales by an independent distributor normally do not count as contacts of the manufacturer

for purposes of personal jurisdiction. Cambridge Literary Props., Ltd. v. W. Goebel

Porzellanfabrik G.m.b.H. & Co. Kg., 295 F.3d 59, 63 n.4 (1st Cir. 2002). Though Hammel may

have targeted the United States market in general, it has not revealed an intent to invoke or

benefit from the protection of Massachusetts’ laws. McIntyre, 564 U.S. at 887 (plurality

opinion). Hammel has no offices or employees in the forum, nor does it pay Massachusetts taxes

or own property in the state. Plaintiff has not alleged, nor does the record at this stage support

the inference, that Hammel advertises in or has sent employees to Massachusetts. The trade

shows Hammel employees attended were not in Massachusetts. Therefore, even under the

McIntyre concurrence’s adoption of the “stream of commerce plus” theory, Plaintiff has not

shown “something more” to support the contention that Hammel specifically targeted

Massachusetts. McIntyre, 564 U.S. at 899 (Breyer, J., concurring).

       This case is unlike Knox, in which the First Circuit found proper the exercise of personal

jurisdiction over a German manufacturer whose product travelled through a distributor in

Georgia, ultimately injuring the plaintiff in Massachusetts. 914 F.3d at 694. The Knox court




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distinguished its case from McIntyre largely because the machines in Knox were made-to-order

according to the purchaser’s specifications. Moreover, in Knox, the distributor included

instruction manuals for the machines that included direct contact information for the

manufacturer if the customer needed spare parts. Knox, 914 F.3d at 693. The court found it

reasonable to infer from these facts that the defendant had opened channels of service with

Massachusetts customers that allowed for the proper exercise of personal jurisdiction.

       Unlike the manufacturer in Knox, which retained the ability to direct where its products

went, sold dozens of expensive products into the forum for nearly two decades, and initiated an

ongoing relationship with its in-forum customers, Hammel lacked the ability to control the final

location of its products and knew only “that its products are distributed through a nationwide

distribution system that might lead to those products being sold in any of the fifty states.”

McIntyre, 564 U.S. at 879. Plaintiff has pointed to the possible presence of a second Hammel

shredder in Massachusetts, but as the court reasoned in McIntyre, even four machines in the

forum state were insufficient to exercise personal jurisdiction over the manufacturer defendant.

Id. at 878. Accordingly, Plaintiff has failed to demonstrate that Hammel’s contacts evince

purposeful availment of the protections and benefits of Massachusetts law. For this reason alone,

exercising personal jurisdiction over Hammel would violate due process.

                       c. Reasonableness

       When a court finds that the plaintiff has failed to satisfy the first two prongs of due

process, it need not proceed to the reasonableness requirement. Sawtelle, 70 F.3d at 1394

(noting that “[t]he [g]estalt factors come into play only if the first two segments of the test for

specific jurisdiction have been fulfilled.”) (quoting United Elec. Workers, 960 F.2d at 1091 n.

11).




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       Even assuming arguendo that Hammel had purposely availed itself of the Massachusetts

market, exercising personal jurisdiction would not satisfy the third prong of due process because

it would not be reasonable. To assess reasonableness, courts consider the five “Gestalt” factors:

(1) the defendant's burden of appearing in the forum state; (2) the forum state's interest in

adjudicating the dispute; (3) the plaintiff's interest in obtaining convenient and effective relief;

(4) the judicial system's interest in obtaining the most effective resolution of the controversy; and

(5) the common interests of all sovereigns in promoting substantive social policies. C.W.

Downer, 771 F.3d at 69. These factors are designed to illuminate whether the exercise of

jurisdiction is reasonable. Pritzker v. Yari, 42 F.3d 53, 64 (1st Cir. 1994). Courts rely on these

factors for close cases. Id. at 65. To be clear, this is not such a case.

       The first factor—the defendant’s burden—weighs against exercising personal

jurisdiction. Hammel is a German company, with its principal place of business in Germany,

and has asserted that it would be burdensome to litigate this case in Massachusetts, where it has

no offices, operations, or employees. It is true that it is “almost always inconvenient and costly

for a party to litigate in a foreign jurisdiction.” Nowak v. Tak How Invs., Ltd., 94 F.3d 708, 718

(1st Cir. 1996) (quoting Pritzker, 42 F.3d at 64). For this factor to tip the scale, “the defendant

must demonstrate that exercise of jurisdiction in the present circumstance is onerous in a special,

unusual, or other constitutionally significant way.” Id. (internal citation and quotations omitted).

The burden of forcing a German corporation with no presence in Massachusetts to appear in the

forum is onerous in terms of distance. Medicus Radiology, LLC v. Nortek Med. Staffing, Inc.,

No. 10-CV-300-PB, 2011 WL 9373, at *5 (D.N.H. Jan. 3, 2011) (holding it is unreasonable to

force a Texas corporate defendant with no presence in New Hampshire to appear in the forum);

see Philips v. Prairie Eye Center, 530 F.3d 22, 30 (1st Cir. 2008) (holding that the burden on an




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Illinois defendant with no connection to the forum state was disproportionate). The first factor

therefore weighs against exercising personal jurisdiction over Hammel.

       The second factor, which considers the forum state's interest in adjudicating the dispute,

weighs against keeping the suit in Massachusetts. Though a “state generally has a ‘manifest

interest’ in providing its residents with a convenient forum for redressing injuries inflicted by

out-of-state actors,” Burger King, 471 U.S. at 473, the alleged wrongful conduct by Hammel, the

defective design and manufacture of the metal shredder, occurred entirely outside of

Massachusetts. The mere fact that the Plaintiff’s injury occurred in Massachusetts “is not . . .

enough to establish its substantial interest in the suit.” Merced v. JLG Indus., Inc., 193

F.Supp.2d 290, 295 (D. Mass. 2001); see Medicus, 2011 WL 9373, at *6 (finding that the state’s

interest in litigation is diminished where alleged tortious conduct occurred outside of forum);

Sawtelle, 70 F.3d at 1395 (“[t]his factor . . . cuts against jurisdiction” when “the acts comprising

the defendants' alleged negligence occurred almost entirely outside of [the forum].”).

       Third, while the plaintiff's choice of forum must be accorded a degree of deference, “the

plaintiff's actual convenience seems to be at best a makeweight in this situation.” Ticketmaster,

26 F.3d at 211 (emphasis in original) (discussing the difficulty in concluding which forum state

would be more convenient when the alleged tortious injury and witnesses exist in different forum

states). Here, it is not immediately clear that Massachusetts is the most convenient forum when

key witnesses and evidence are likely located in Ohio or abroad.

       The fourth factor, the judicial system's interest in obtaining the most effective resolution

of the controversy, is usually “a wash.” Nowak, 94 F.3d at 718 (citing Ticketmaster, 26 F.3d at

211). As the First Circuit has reasoned, “[e]ven though Massachusetts courts can effectively




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administer justice in this dispute, they have no corner on the market.” Baskin-Robbins, 825 F.3d

at 41.

         The last factor, which can be effectively summed as pertinent policy arguments,

addresses the interests of the governments in enacting substantive social policies. See Nowak,

94 F.3d at 719. While Massachusetts has an interest in protecting its citizens from defective

products made by foreign manufacturers, Germany and Ohio also have substantial interests in

promoting and ensuring product safety, as well as holding accountable the corporations they

house. Thus, this last factor does not tip in either parties’ favor.

         The reasonableness prong evokes “a sliding scale: the weaker the plaintiff's showing on

the first two prongs (relatedness and purposeful availment), the less a defendant need show in

terms of unreasonableness to defeat jurisdiction.” A Corp. v. All Am. Plumbing, Inc., 812 F.3d

54, 61 (1st Cir. 2016) (quoting Ticketmaster, 26 F.3d at 210). On balance, the “Gestalt” factors

make pellucid what was already clear: exercising jurisdiction over Hammel would not be

reasonable. Plaintiff’s failure to satisfy the purposeful availment prong of due process cannot be

overcome.

                  2. Long-Arm Statute

         The Massachusetts long-arm statute provides that a court may exercise personal

jurisdiction over a person as to a cause of action in law or equity arising from, inter alia, the

person's “(d) causing tortious injury in this commonwealth by an act or omission outside this

commonwealth if he regularly does or solicits business, or engages in any other persistent course

of conduct, or derives substantial revenue from goods used or consumed or services rendered, in

this commonwealth[.]” Mass. Gen. Laws Ann. ch. 223A, § 3.




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       The First Circuit has treated the limits of Massachusetts' long-arm statute as coextensive

with those of the Due Process Clause. Copia Commc'ns, LLC v. AMResorts, L.P., 812 F.3d 1, 4

(1st Cir. 2016). The First Circuit has suggested that the Massachusetts long-arm statute might

impose more restrictive limits on the exercise of personal jurisdiction than does the Constitution.

Motus, LLC v. CarData Consultants, Inc., 23 F.4th 115, 124 (1st Cir. 2022). Having concluded

that the Due Process Clause does not permit the exercise of personal jurisdiction over Hammel in

this case, the Court “need not untangle this potential ‘tension in our precedent here.’” A Corp.,

812 F.3d at 59 (quoting Copia, 812 F.3d at 4); Rosenthal v. Bloomingdales.com, LLC, 101 F.4th

90, 95 (1st Cir. 2024) (explaining that although the reach of the Massachusetts long-arm statute

may not be identical to that of the Due Process Clause, the court need not inquire into such

distinctions when the plaintiff has not satisfied the constitutional minimum demanded by due

process).

       Because the Court finds that Plaintiff has not satisfied his constitutional burden, the Court

does not need to address the statutory requirements. Motus, 23 F.4th at 124 (stating that it would

“serve no useful purpose” to analyze statutory authorization under Massachusetts’ long-arm

statute when plaintiff has not satisfied the federal constitutional requirements for personal

jurisdiction); Ward v. AlphaCore Pharma, LLC, 89 F.4th 203, 211 (1st Cir. 2023) (refusing to

conduct further statutory analysis when the court has found defendant’s activities to be

insufficiently related to Massachusetts to satisfy the strictures of due process); Chouinard v.

Marigot Beach Club & Dive Resort, No. CV 20-10863-MPK, 2023 WL 2743305, at *1 (D.

Mass. Mar. 31, 2023), appeal dismissed, No. 23-1390, 2023 WL 7321758 (1st Cir. June 29,

2023) (declining to address the statutory requirements under the Massachusetts long-arm statute

because the court found that plaintiffs have not satisfied their constitutional burden).




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                 3. Jurisdictional Discovery

       Plaintiff has also requested that the Court allow jurisdictional discovery to obtain

interrogatories, document requests, and depositions to “illuminate Defendants’ purposeful

availment of Massachusetts as a market for the Hammel Shredder and related products.” [Dkt.

43 at 8]. It is well-established that “a diligent plaintiff who sues an out-of-state corporation and

who makes out a colorable case for the existence of in personam jurisdiction may well be entitled

to a modicum of jurisdictional discovery if the corporation interposes a jurisdictional defense.”

United States v. Swiss Am. Bank, Ltd., 274 F.3d 610, 625 (1st Cir. 2001) (quotations and

citations omitted). This Court has “broad discretion” to determine whether jurisdictional

discovery is warranted. Swiss Am. Bank, 274 F.3d at 626. When seeking jurisdictional

discovery, the plaintiff has the burden of making “a colorable claim for jurisdiction” and

“present[ing] facts to the court which show why jurisdiction would be found if discovery were

permitted.” Id. at 625-26, 627; see also Motus, 23 F.4th at 128 (affirming denial of jurisdictional

discovery because plaintiff failed “to explain why jurisdictional discovery was appropriate and

what relevant information it hoped to glean through such discovery”). Jurisdictional discovery is

appropriate if “a party demonstrates that it can supplement its jurisdictional allegations through

discovery.” Momenta Pharms., Inc. v. Amphastar Pharms., Inc., 841 F. Supp. 2d 514, 518 (D.

Mass. 2012). Though the “colorable” threshold is “low”, the plaintiff “must identify a non-

frivolous dispute about facts that may yield a sufficient predicate for” jurisdiction. Motus, 23

F.4th at 128 (citing Blair v. City of Worcester, 522 F.3d 105, 111 (1st Cir. 2008)).

       In the instant case, Ryan has failed to make a colorable claim for personal

jurisdiction. The requested internal financial information is insufficient to support a showing

that Hammel purposefully availed itself of the Massachusetts market. Given the fact that




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Plaintiff has pointed to only one other possible Hammel shredder in Massachusetts, the amount

of revenue derived from sales of Hammel shredders in the forum will likely not be substantial

enough with respect to Hammel’s total sales to alter the jurisdictional analysis. BNSF Ry. Co. v.

Tyrrell, 581 U.S. 402, 414 (2017) (clarifying that the key inquiry under purposeful availment is

not “the magnitude of the defendant's in-state contacts,” but rather an appraisal of the

defendant’s contacts within the “entirety” of the corporation's activities). Neither would the fact

that Hammel might have a partner distributor in the United States be sufficient for satisfying

jurisdiction. Cambridge Literary Props., 295 F.3d at 63-64 (finding that sales by an independent

distributor do not count as purposeful availment by the manufacturer).

       The crux of the inquiry is not whether Hammel intended on targeting the United States as

a whole but rather whether Hammel intended on specifically targeting Massachusetts. See Sun

Life Assur. Co. of Canada, 946 F. Supp. 2d at 193 (declining request for jurisdictional discovery

because plaintiff did not allege that the contacts will be based mostly in Massachusetts or that

they will be sufficient to meet the jurisdictional requirements); Asahi Metal Industry, 480 U.S. at

112 (holding that mere knowledge that the product may be sold in the forum is not enough

without “something more” showing a deliberate targeting of the forum state’s market). The

information requested by Plaintiff is unlikely to make a material difference for purposes of

personal jurisdiction. Given these requests, it is highly unlikely that the Court would find the

exercise of jurisdiction proper even if jurisdictional discovery were granted. Accordingly, since

Plaintiff has not made any colorable claim, jurisdictional discovery is unwarranted.

IV.    CONCLUSION

       Plaintiff bears the burden of persuading the Court that jurisdiction exists over the

Defendant. Plaintiff has failed in this regard, compelling the Court to dismiss Hammel from this




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case. This decision is not as unduly harsh as it seems. The suit remains live against three

residual defendants. Thus, it is not the end of the road for Plaintiff or this suit. For the foregoing

reasons, Defendant Hammel’s Motion to Dismiss [Dkt. 41] is GRANTED and Plaintiff’s Cross-

Motion for Jurisdictional Discovery is DENIED. [Dkt. 43].

       SO ORDERED.

Dated: April 28, 2025                                         /s/ Angel Kelley
                                                              Hon. Angel Kelley
                                                              United States District Judge




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